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his way to make sure they were taken care of and had
everything they needed. He spent his own money to buy
clothes, shoes, and other items for his residents. He would
always worry about them when he wasn’t there. He lived with
his girlfriend and her children and only quit working at the
nursing center to pursue a higher paying job as a Table Games
Dealer at the casino to better provide for their family. My
husband passed away in January of 2018, and my son was a
saving grace in our lives. Even though he lost his stepfather,
who he considered to be his real father, and was also suffering
greatly with grief, he moved in and helped me around the
house and really helped us through the toughest time in our
lives. I don’t know how we would have gotten through it
without him. My daughter and I need him in our lives. He
helps A        and I with so much in our home and in our daily
lives by just being there. I can’t imagine our lives without him
here, we are such a close family and depend on each other so
much. My dad is retiring and moving in within the next month
and he and my son have plans for him to help my dad get
healthy and become more mobile. We have so many plans for
the future, Bobby was hoping to start school in the fall, it would
be the beginning of a whole new life for him. A        is also
planning to start Paul Mitchell this summer or fall, Bobby is her
favorite guinea pig for her hobbies and practice. Please let him
come home to be with us during this process. I know that he is
scared and full of remorse and regret for the situation that he
now finds himself in and would change things if he could. I
know that this has to be the most terrifying thing that our
family has ever faced, please let us face it together. His sister
and I pray that he can come home. We will do whatever is
necessary to make sure that that can happen. I will gladly do
whatever is necessary for me to become his third-party
custodian. I would gladly assume responsibility of my son and
have no doubts as to his total compliance with any and all
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court requests, court dates, and any and all rules and
regulations that need to be adhered to. He will have a solid
support system with myself, his sister, and his grandfather all
here, not to mention his dog Aspen, whom is almost like a child
to him. We also need him as a very vital and necessary part of
our family and our support system. We all need each other.
Please your honor, please I pray you let him come home.

     Thank you for your time and consideration,
     Sheryl Bashlor
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Honorable Judge Varholak
United States District Judge
c/o Matthew Belcher
Office of the Federal Public Defender



       Hello Your Honor, my name is A          C . I am seventeen years old and I am
Bobby’s little sister. Since the day I was born Bobby has been my best friend,
whether it was watching Hannah Montana with me, playing with Barbie dolls for
hours, hugging me when I’m down, or laughing with me about anything and
everything. He taught me how to make the best out of situations by finding
something to laugh at, some joke to crack to make it all seem just a little more
bearable. Bobby has always been my cheerleader, one of my biggest supporters;
when I wanted to become a vet as a little girl he told me ways I could do it. He
showed me how to help some of the animals from what he had learned. When I
wanted to become a chef bobby ate anything I made, not that he didn't enjoy it, he
told me what he thought of it, and if I could improve it in an way. Now with
cosmetology he lets me put makeup on him and do his hair and try new things, he
tells me what he thinks of it and how he would view it as a client.


        Bobby is the most inspiring person in my life, he has taught me so much.
Watching him my whole life has made me want to do better in every aspect of my
life. When I was around one year old my biological father left, bobby was my best
friend ever, I hung out with him everyday, he walked me home from school, we
played in the rain and laughed and jumped in puddles, he always helped me when I
slipped or fell and hurt myself. We met my step dad when I was 4, we moved in with
him right before I turned 6, he taught Bobby and I everything, how to camp, how to
shoot guns and bows, how to survive, how to hunt, and most importantly how to
take care of the people who love you. My Step dad passed away when I was fourteen
years old, I lost myself completely, focusing on school was near impossible, taking
care of myself became my last priority. But, through it all my big brother was always
there for me, to cry to, to talk to, or to laugh with. He took me on camping trips,
hikes, he taught me how to cook over an open fire when I’m camping or in case of
emergency, he helped me set my car up, he took me on drives where we just listened
to music and sang together and bonded.


        Bobby has been working since he was fourteen years old consistently up
until the end of October 2020 when the Casino had gotten rid of table games (due to
COVID) and he was no longer getting enough hours to pay for his family. He has
always worked his absolute hardest, put in full time hours, overtime when possible,
he works holidays and overnights. Bobby gives his all to everything he does, if he is
passionate about something his motivation to succeed is beyond inspirational, I only
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wish to some day have the passion and drive that he shows in everything he does.
He goes out of his way to make new friends and have challenging and interesting
conversations with people he meets at the store or people he meets just in his
everyday life. Bobby is one of the smartest, most caring, funniest, and most amazing
people I know.


        There is nothing I want more than my big brother home. I still have more to
learn, I need him here, I need that shoulder to cry on, I need my best friend to laugh
with. I need my camping buddy, my survival teacher. I need to know that he is okay,
because he has always done the same for me. I will never give up on Bobby and he
will always be welcome home with open arms and a big smile. This is where he
belongs, home with his family. I will do whatever I can to make sure he can come
home and be safe.


Please let my brother come home. Thank you,
A      C
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Honorable Judge Varholak
United States District Judge
c/o Matthew Belcher
Office of the Federal Public Defender

   My name is Heather Walker. I am 43 years old and I am Robert Gieswein’s girlfriend. I am a nurse of
13 years and have worked in the same nursing home for 11 years. Robert and I have been a couple for
almost 6 years now.

   Robert worked as a CNA at my nursing home for about 3 years. He was always a hard worker and was
always kind and caring to our elderly population. He left the nursing home to pursue a career in gaming.
He got his gaming license and became a card dealer at a local casino. He worked there for about 2 years
until covid-19 shut the casino down.

   For as long as I have known him, Robert has always been a dedicated and productive part of society.
Robert values family, the law, and our constitution above all. I know in my heart that he is not a danger
to himself or others and he is not a flight risk. He turned himself in as soon as he knew there was a
warrant for his arrest, because he does respect the law. He has absolutely no criminal background, so I
ask that you please consider giving him a chance to return to the safety of his mother’s home. That way
we can all provide him with support and comfort during these scary and stressful times he is facing.


Thank you so much for your consideration,
Heather Walker
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From: Jennifer Ashley <j          @yahoo.com>
Subject: Robert Geisswein
Date: January 21, 2021 at 11:23:14 AM MST
To: Sherry <           @yahoo.com>
Reply-To: Jennifer Ashley            @yahoo.com>

Honorable Judge Varholac
United States District Judge
c/o Matthew Belcher
Office of the Federal Public Defender

Your Honor,
My name is Jennifer Ashley, I am 45 years old. Bobbys mother and I have been best friends since Bobby
was in Kindergarten. My family and I have watched Bobby grow up. He has always had a good heart and
was willing to help us with any work that needed to be done, mending fence, hanging gates, moving
bricks whatever and it was volunteered work, just feed him.

I have watched him and a friend clear out and tear down an old mobile home, took them a week and
then proudly split between them the $80 that the elderly woman could afford. He was 16.

Bobby has always loved the outdoors, hiking, fishing, camping. He always has good stories and we enjoy
hearing them. He's a good kid.

Bobby, his mother and his sister are a very close unit, especially since his dad died almost 3 years ago.

Bobby always has a calm, happy demeanor when I see him. I'm proud to call him my nephew.

Thank you for taking the time to read this.

Sincerely,
Jennifer Ashley

Sent from Yahoo Mail on Android
